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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

  UNITED STATES OF
  AMERICA,


  v.                                CASE NO.    8:02-CR-111-T-17MAP

  JOSEPH CUCINIELLO.




                                    ORDER

        This cause is before the Court on:

        Dkt. 1550 Motion for Intervention


        Defendant Cuciniello requests that this Court enter a stay
  as to actions by the Bureau of Prisons to collect restitution
  under the Inmate Financial Responsibility Program that Defendant
  contends adversely impact his health and constitute cruel and
  unusual punishment.    Defendant is in custody in Butner Low
  Correctional Institution.


        This Court sentenced Defendant on September 16, 2005. A
  Second Amended Judgment was entered on April 5, 2006 (Dkt. 1521).
  The Second Amended Judgment directs an immediate special
  assessment of $2800 and restitution payments of either $25
  quarterly if defendant has a non-Unicor job or at least 50% of
  earnings if defendant has a Unicor job.


        Defendant is seeking an injunction to prevent the BOP from
  taking actions which subject Defendant to cruel and unusual
  punishment. The Court denies the Motion for Intervention, which
  is deemed a request for a preliminary injunction.          Defendant is
  required to exhaust administrative remedies before seeking
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   injunctive relief. See Irwin v. Hawk, 40 F.3d 347, 349 n. 2
   1    C r 1994). Defendant has not exhausted the administrative
   remedies available to him.


        The Court also notes that participation in the Inmate
   Financial Responsibility Program is voluntary. If an inmate
   refuses to participate in the IFRP or fails to comply with his
   financial plan, the inmate is denied certain incentives which are
   reserved for participating inmates. See Booker v. Wetzel, 2005
   WL 3018670 (N.D. Fla. 2005). The IFRP has been upheld as
   constitutional. See McGhee v. Clark, 166 F.3d 884 ( 7 t h Cir.
   1998).


        The Second Amended Judgment reveals that this Court set the
   timing and amounts of payment of restitution. There was no
   improper delegation to the BOP.       Accordingly, it is


         ORDERED that the Motion for Intervention is denied for
   failure to exhaust administrative remedies.
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          DONE and ORDERED in Chambers, in Tampa, Florida on this
  8t"ay     of June, 2006.




  Copies to:
  All parties and counsel of record
